Case 1:21-cv-00268-JAO-KJM Document 49 Filed 08/06/21 Page 1 of 2                           PageID #: 1720




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                                                                                 Letter
                                                  August 6, 2021




  Honorable Jill A. Otake
  United States District Judge
  District of Hawaii
  300 Ala Moana Boulevard
  Honolulu, Hawaii 96850

   Re:    Anthony Chatman, et al vs. Max. N. Otani, et al
          Civil No. 21-00268 JAO-KJM

  Dear Judge Otake:

                  We are writing to you in Judge Mansfield's absence due to the increasingly dire
  conditions in Hawaii correctional institutions because of the State's inability and apparent unwillingness
  to provide a safe environment for Inmates, lack of candor about the actual conditions, and refusal to
  produce timely information about our clients which you and Judge Mansfield already have ordered
  them to provide.

                  Since the issuance of your preliminary injunction on July 13, 2021, we repeatedly have
  asked for information identifying the class members who contracted Covid and their current status and
  locations so we can contact them to verify that they are safe. The Defendant flatly refuses to provide
  that information and has failed to do so thus far notwithstanding the Magistrate Judge's July 21, 2021
  Order directing Defendant to provide the foregoing information to class counsel.

                    For the past approximately three weeks we have received daily reports identifying one
  to - at most - three inmates newly diagnosed with Covid creating the impression that there are no
                                                             nd
  significant outbreaks in any of the facilities. On August 2 the Defendant filed their first Status Report
  with declarations from the wardens baldly stating that there are no Covid problems in any of their
  facilities statewide and that they are in full and complete compliance with the Court's July 13th Order.
  The information supplied to us by our clients and staff has indicated that the wardens' declarations are
  inaccurate - at best.

                   Last week I attended a criminal arraignment hearing in Circuit Court when it was
  announced that one or more OCCC defendants could not be arraigned that day because they had tested
  positive for Covid, but we had not received any reports of new cases at OCCC. Yesterday I was notified
  that a parole hearing scheduled for August 11 has been postponed indefinitely because Halawa is now
  shut down. Shortly thereafter the Defendant reported a total of nearly forty new cases at Halawa and
  the Maui Community Correctional Facility. The Halawa cases are of particular concern because that is



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Case 1:21-cv-00268-JAO-KJM Document 49 Filed 08/06/21 Page 2 of 2                       PageID #: 1721




   Hon. Jill A. Otake
   August 2, 2021
   Page Two



   the facility to which inmates from the Hawaii Community Correctional Center are being sent during a n
   active outbreak purportedly to address Covid and reduce the population there.

                  We have received reports of possible Covld outbreaks at other facilities that we are
   unable to accurately verify due to the refusal of the Defendants or their counsel to fully and timely
   comply with your July 13th Order and the Magistrate's July 21, 2021 Order. Our pleas for further
   information have been ignored by opposing counsel who currently are focused, instead, upon seeking
   modifications of your Order rather than insuring the well-being and safety of the inmates in their
   custody and control.

                   In Judge Mansfield's absence we are directing this correspondence to you based upon
   our belief that there is an emergency situation that will only become worse unless we are able to
   intervene effectively right away.

                   Thank you for your consideration.




                                                  Eric A. Seitz
                                                  Gina Szeto-Wong
                                                  Kevin Yolken




  cc       Hon. Kenneth J. Mansfield
           Clare E. Connors, Esq
           Kendall J. Moser, Esq.
           Skyler G. Cruz, Esq.
